






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN







NO. 03-02-00196-CV






Heart Hospital IV, L.P. and Texas Workforce Commission, Appellants


v.


Charles A. King, Appellee







FROM THE DISTRICT COURT OF BASTROP COUNTY, 21ST JUDICIAL DISTRICT

NO. 23,894, HONORABLE JOHN L. PLACKE, JUDGE PRESIDING





O P I N I O N




	After the Texas Workforce Commission ("the Commission") denied appellee Charles
A. King's application for unemployment benefits, King sought review of the Commission's decision
in a Travis County district court.  Upon realizing that his suit for judicial review should have been
filed in Bastrop County, King moved to dismiss his Travis County suit and refiled it in Bastrop
County.  Both the Commission and Heart Hospital IV, L.P. ("Heart Hospital") filed pleas to the
jurisdiction.  The district court denied the Commission's plea; the Commission and Heart Hospital
appeal the denial of the plea. (1)  See Tex. Civ. Prac. &amp; Rem. Code Ann. § 51.014(a)(8) (West Supp.
2003).  We will reverse the district court's denial of the Commission's plea to the jurisdiction and
dismiss the cause.


BACKGROUND


	According to King's pleadings, he was employed by Heart Hospital as a systems
engineer from January 1999 until April 2000.  Heart Hospital required its employees to submit to
random drug tests.  King had passed four drug tests during his employment, but on April 25, 2000,
Heart Hospital informed King that he had failed his fifth drug test by testing positive for marihuana. 
Heart Hospital immediately fired King based on the results of the drug test.

	On April 30, King filed for unemployment benefits with the Commission and was
approved.  Heart Hospital appealed the decision.  Following an investigation into Heart Hospital's
testing procedures, the Commission's appeal tribunal determined that the hospital's testing
procedures were flawed and affirmed its initial determination approving King's application for
unemployment benefits.  Heart Hospital appealed this decision to the full Commission.  On January
10, 2001, the Commission issued its decision, reversing the appeal tribunal's prior determination,
denying King unemployment benefits, and ordering King to repay $6,174 in benefits already
received.  King sought a rehearing, and on March 6, 2001, the Commission overruled the motion for
rehearing.

	King initially filed his petition for judicial review of the Commission's decision in
Travis County on March 30, 2001.  After discovering that his petition for judicial review should have
been filed in Bastrop County, King moved to dismiss his petition without prejudice, which the Travis
County court granted on June 11.  King refiled in Bastrop County on July 9, 2001, 28 days after the
dismissal of his initial suit and 125 days after the decision of the Commission became final.  Both
the Commission and Heart Hospital filed pleas to the jurisdiction, alleging that King did not seek
review of the Commission's decision within fourteen days after it became final, as mandated by
section 212.201 of the labor code.  The district court denied the Commission's plea.


DISCUSSION


	A party seeking judicial review of a Commission decision must bring his action not
later than fourteen days after the Commission's decision becomes final.  Tex. Lab. Code Ann.
§&nbsp;212.201(a) (West 1996).  A Commission decision becomes final fourteen days after it is mailed
to the parties.  Id. § 212.153 (West 1996).  In this case, the Commission mailed its final decision on
March 6, 2001.  The decision thus became final on March 20, fourteen days later.  Accordingly, King
was required to seek judicial review of the Commission's decision by April 3, fourteen days after
the decision became final.  It is undisputed that King did not file his petition for judicial review in
Bastrop County until July 9, well past the fourteen-day deadline.

	Both the Commission and Heart Hospital present a single issue for our review:
Whether the district court erred in denying the Commission's plea to the jurisdiction based on King's
failure to file his suit for judicial review in Bastrop County within fourteen days as required by
statute.  Whether the district court had subject-matter jurisdiction presents a question of law and is
reviewed de novo.  Mayhew v. Town of Sunnyvale, 964 S.W.2d 922, 928 (Tex. 1998).  We must
begin our analysis by first determining whether compliance with the statutory fourteen-day deadline
is jurisdictional.  Failure of a party to comply with statutory requirements is no longer an absolute
bar to review of an agency determination.  Dubai Petroleum Co. v. Kazi, 12 S.W.3d 71, 76 (Tex.
2000) (overruling Mingus v. Wadley, 285 S.W. 1084 (Tex. 1926)); see also Helton v. Railroad
Comm'n, No. 01-01-01007-CV, 2003 Tex. App. LEXIS 4832, at *16-17 (Houston [1st Dist.] June
5, 2003, no pet. h.).  Some statutory prerequisites, however, remain jurisdictional.  Sierra Club v.
Texas Natural Res. Conservation Comm'n, 26 S.W.3d 684, 687 (Tex. App.--Austin 2000), aff'd on
other grounds, 70 S.W.3d 809 (Tex. 2002).  This Court has distinguished "statutory prerequisites"
from those matters that are "traditionally and undoubtedly elements of subject-matter jurisdiction." 
Id. at 687-88.  A jurisdictional statutory requirement is one that "defines, enlarges, [or] restricts the
class of causes the court may decide or the relief the court may award."  Id. at 688; accord Helton,
2003 Tex. App. LEXIS 4832, at *17.  A statutory requirement that does none of these may
nevertheless affect a plaintiff's right to relief, but it is not jurisdictional.  Helton, 2003 Tex. App.
LEXIS 4832, at *17; see also Hill v. Board of Trs. of the Ret. Sys., 40 S.W.3d 676, 679 (Tex.
App.--Austin 2001, no pet.).  Applying these principles, this Court has held that failure to exhaust
all administrative remedies, including the timely filing of a motion for rehearing, is jurisdictional
"because the filing of the motion for rehearing defines and restricts the kind of case a district court
may hear."  Hill, 40 S.W.3d at 679.

	Similarly, the statutory fourteen-day deadline also defines and restricts the kind of
case that district courts may hear.  The district court is generally without jurisdiction to review the
agency's decision unless and until the plaintiff files a petition for judicial review within the
statutorily prescribed fourteen days.  If the fourteen days expire and the plaintiff has failed to file a
petition for judicial review, the Commission's decision becomes final and unappealable.  See Texas
Alcoholic Beverage Comm'n v. Wilson, 22 S.W.3d 612, 613-14 (Tex. App.--Austin 2000, pet.
denied).  No trial court can review the Commission's decision at that point; hence, the scope of the
trial court's jurisdiction is limited.  Therefore, we hold that the statutory fourteen-day deadline is a
jurisdictional statutory prerequisite and a party's failure to comply with it deprives the trial court of
jurisdiction to review the Commission's decision.

	Neither party disputes that King filed his petition for judicial review in Bastrop
County 125 days after the Commission's decision became final.  He thus failed to comply with the
fourteen-day filing deadline, which we have held is a jurisdictional statutory prerequisite.  The
Bastrop County court therefore had no jurisdiction to entertain King's suit for judicial review.

	King argues, however, that because he filed his petition for judicial review within the
fourteen-day deadline in Travis County, some tolling theory should be applied to extend the time
under which he was able to refile his action in the proper court, such as the sixty-day tolling
provision of section 16.064 of the civil practice and remedies code.  See Tex. Civ. Prac. &amp; Rem.
Code Ann. § 16.064 (West 1997). (2)  Section 16.064 has always been understood as "remedial."  Vale
v. Ryan, 809 S.W.2d 324, 326 (Tex. App.--Austin 1991, no writ); Burford v. Sun Oil Co., 186
S.W.2d 306, 310 (Tex. Civ. App.--Austin 1944, writ ref'd w.o.m.).  The sixty-day tolling provision
"was intended to cover every case where the effect of the final judgment or order of the first court
was tantamount to a dismissal because the action was mistakenly but in good faith brought in the
wrong court."  Burford, 186 S.W.2d at 310.  It is "meant to be all-inclusive, embracing both
voluntary action on the part of the plaintiff and every species of form or order, judgment or decree,
which terminates the action if it be because of the fact that the suit was brought in the wrong court." 
Id. at 311.  Liberally construing the tolling theory arguably applies it to a voluntary dismissal on the
basis of improper venue.  While this may be true, it has consistently been recognized that section
16.064 does not apply to special statutory proceedings.  See Gutierrez v. Lee, 812 S.W.2d 388, 392
(Tex. App.--Austin 1991, writ denied).  Because section 16.064 is an exception to the general
limitations provisions, it does not apply to proceedings created by statutes, such as statutory reviews
of administrative decisions.  Id.; see also Argonaut Southwest Ins. Co. v. Walker, 64 S.W.3d 654,
657 (Tex. App.--Texarkana 2001, pet. denied) ("Section 16.064 is a general statute of limitation
which does not affect special statutory proceedings"); Castillo v. Allied Ins. Co., 537 S.W.2d 486,
487 (Tex. Civ. App.--Amarillo 1976, writ ref'd n.r.e.) (mandatory twenty-day appeal period of
Worker's Compensation Board decision is not affected by sixty-day tolling provision because
provision "does not affect special statutory proceedings").  The fourteen-day filing deadline in this
case is a jurisdictional statutory prerequisite to King's maintaining a suit for judicial review; it is not
a statute of limitations.  Therefore, the sixty-day tolling provision of section 16.064 is not applicable
when the legislature has made the choice that review of a decision by the Commission regarding
unemployment benefits must be filed within fourteen days of the decision becoming final.  Applying
section 16.064 to allow a plaintiff to refile following a voluntary dismissal of his original suit would
be to circumvent the entire basis for the legislature providing a limited time available for review.

	King also argues that equitable tolling should apply in this case.  King relies on the
equitable tolling theory articulated by this Court in Palmer v. Enserch Corp., 728 S.W.2d 431 (Tex.
App.--Austin 1987, writ ref'd n.r.e.), and the supreme court in Enserch Corp. v. Parker, 794 S.W.2d
2 (Tex. 1990).  Under this theory, "[s]tatutes of limitations should not apply in situations in which
no party is misled or disadvantaged by an error in pleading."  Walls v. Travis County, 958 S.W.2d
944, 946 (Tex. App.--Austin 1998, pet. denied) (citing Palmer, 728 S.W.2d at 434).  This theory,
however, has been applied only in times "[w]hen the wrong defendant is sued and the proper
defendant is not named until after limitations has expired."  Id.  Moreover, the theory applies to the
affirmative defense of limitations.  Again, the case before us does not present a limitations issue, but
rather a jurisdictional statutory prerequisite.  Once King failed to comply with that statutory
prerequisite, his cause could not be saved by a tolling provision applicable only to statutes of
limitations; the district court simply did not have jurisdiction.

	Even if we were to extend the theory of equitable tolling to statutory proceedings, it
would not apply so as to completely overrule the choices made by the legislature.  A plaintiff must
exercise diligence in the prosecution of his suit.  Palmer, 728 S.W.2d at 434.  To this end, the
legislature requires that a suit for judicial review of the Commission's decision be brought in "a
court of competent jurisdiction . . . not later than the 14th day after" the date the decision becomes
final.  Tex. Lab. Code Ann. § 212.201.  If the equitable theory were to apply, it would apply so as
to allow a plaintiff to refile his action within fourteen days after the date of dismissal.  King has
clearly not used diligence in the prosecution of his suit by filing his suit in Bastrop County twenty-eight days after dismissal of the suit in Travis County.  It is disingenuous to the purpose of the
equitable tolling theory to think that it would allow a plaintiff twice as long to refile a suit as he had
to file it initially.  Allowing a plaintiff to voluntarily dismiss an action improperly filed and then
refile the action in the proper district court more than fourteen days later would be contrary to the
direct purpose of section 212.201. 


CONCLUSION


	We hold that the fourteen-day deadline found in section 212.201 of the labor code is
a jurisdictional prerequisite for seeking judicial review.  Because King failed to file his petition for
judicial review within this fourteen-day time frame, the district court was without jurisdiction to
consider his cause.  Accordingly, we reverse the district court's order denying the Commission's plea
to the jurisdiction and dismiss the cause, leaving the Commission's order in effect as if no suit for
judicial review had been filed in the district court.



					                                                                                    

					David Puryear, Justice

Before Justices Kidd, Patterson and Puryear: Opinion by Justice Puryear;

     Dissenting Opinion by Justice Kidd


Reversed and Dismissed

Filed:   August 29, 2003

1.   Although Heart Hospital filed its own plea to the jurisdiction with the district court, the
district court's order, which is entitled, "ORDER ON PLAINTIFF'S OPPOSITION TO
DEFENDANT'S PLEA TO THE JURISDICTION OF TEXAS WORKFORCE COMMISSION,"
only addresses the Commission's plea.  The clerk's record filed with this Court includes a motion
filed by Heart Hospital, requesting that the district court correct its order so that it reflects the court's
denial of Heart Hospital's plea to the jurisdiction as well.  There is nothing in the record indicating
that the district court corrected its order.  In any event, section 51.014 of the civil practice and
remedies code allows a party to bring an interlocutory appeal of a trial court's order that "grants or
denies a plea to the jurisdiction by a governmental unit."  Tex. Civ. Prac. &amp; Rem. Code Ann.
§&nbsp;51.014(a)(8) (West Supp. 2003) (emphasis added).  Thus, in this interlocutory appeal, we will
address the district court's order denying the Commission's plea to the jurisdiction. 
2. 	Section 16.064 provides:


(a)	The period between the date of filing an action in a trial court and the date
of a second filing of the same action in a different court suspends the
running of the applicable statute of limitations for the period if:



  	because of lack of jurisdiction in the trial court where the action was
first filed, the action is dismissed or the judgment is set aside or
annulled in a direct proceeding; and


	

	(2) 	not later than the 60th day after the date the dismissal or other
disposition become final, the action is commenced in a court of
proper jurisdiction.


(b)	This section does not apply if the adverse party has shown in abatement
that the first filing was made with intentional disregard of proper
jurisdiction.


Tex. Civ. Prac. &amp; Rem. Code Ann. § 16.064 (West 1997).

